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                EXHIBIT A
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Person        Date       Services Rendered                                              Time     Hourly Rate          Billed Amount
                         Client stopped by office. Collection case. He has been
                         informed by his mortgage holder that they claim he has
                         missed 2 payments. He never missed a payment according to




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                         his records. Will have to review full years of bank
                         statements. Mtg co has stopped accepting his payments and
Nick Yousif   1.8.16     are threatening foreclosure.                                      1.1   $             450.00 $      495.00
                         Brief review of file determining whether they are showing
Nick Yousif   1.13.16    missed payments                                                   0.5   $             450.00 $      225.00
                         Review with client. Need proof that he made the payments.
Nick Yousif   1.13.16    Client to get bank statements                                     0.3   $             450.00 $      135.00
                         Spoke to client. He said he would get us the documents and
Nick Yousif   1.14.16    drop them off today                                               0.3   $             450.00 $      135.00
                         Client getting more collection calls from mtg co. He will tell
                         them he retained an attorney. Thorough review of 5 years of
Nick Yousif   2.2.16     bank statements                                                   6.2   $             450.00 $    2,790.00
Nick Yousif   2.4.16     Fee agreement prep. Client coming in at 5 to sign                 0.2   $             450.00 $       90.00
                         Review of case with client in person. Reviewed the claims
                         that Rushmore stated they were missing mtg payments but
                         the statements show them. Also appears they misapplied his
Nick Yousif   2.4.16     loan modification payments                                        1.1   $             450.00 $      495.00
                         Sent POA to Selene. Asked client to gather any letters
                         regarding a loan mod and trial payments around Dec 2009.
                         Also asked for statements if he has them for Jan, Feb, Mar
Nick Yousif   2.5.16     2010                                                              0.5   $             450.00 $      225.00
                         Reviewed case with office. Left voicemail for David Chami to
Nick Yousif   2.5.16     see how he wants to handle case.                                  0.3   $             450.00 $      135.00
                         Spoke to client who is looking for an update. Told him we're
                         looking at a potential second claim with David Chami. Asked
                         him to check to confirm he never received documents
Nick Yousif   2.16.16    regarding trial plan                                              0.3   $             450.00 $      135.00
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Nick Yousif   03/03/16    Reviewed and sent copies of docs to David Chami                  0.5       450 $     225.00
                          Met with Mr. Sullivan. He brought numerous documents to




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                          my office to review including letters from Mortgage servicers
                          and collection letters from Selene. Brought in BK records and
                          loan mod and dozens of letters and what appeared to be
                          cancelled checks. Reviewed the information and called David
                          Chami to consult as the fact pattern looked complicated.
                          Was advised to obtain bank records to confirm checks were
                          all actually cashed by the various mortgage servicers
Nick Yousif   3.31.16     including Selene.                                                3.1 $   450.00 $   1,395.00

                          Met with Mr. Sullivan who now had all letters, checks and
                          bank statements. Went through 6 years of bank statements
                          and confirmed all checks were delivered and cashed.
                          Confirmed Selene was incorrectly reporting on Credit Report
Nick Yousif   4.4.16      and prepared file for co-counsel agreement with Chami            8.3 $   450.00 $   3,735.00
                          Selene called looking for intent of client. Told them he wants
                          to retain property. Review of case with client and David
Nick Yousif   4.7.16      Chami                                                             1 $    450.00 $    450.00
                          Review with client. Selene bringing foreclosure action. Need
                          to touch base with David Chami. Client is paying taxes on
Nick Yousif   4.11.16     house now.                                                       0.5 $   450.00 $    225.00
                          Spoke with Nick Yousif in greater detail about prosective
                          case for Robert Sullivan. Reviewed general issues/timeline.
                          Asked Nick to Send the gathered evidence including bank
                          statements, cancelled checks etc to review and confirm story
David Chami   4.18.16     by PC                                                            0.7 $   550.00 $    385.00
                          Meeting with client and phone call with David Chami. Chami
Nick Yousif   4.19.16     to begin drafting letter and docs                                 1 $    450.00 $    450.00
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                          Received documents including credit reports, bank
                          statements, letters and cancelled checks from Nick Y for
David Chami   5.2.16      Robert Sullivan. Performed detailed review of docs.                6.8 $   550.00 $   3,740.00




                                                                                                                           Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 4 of 22
                          Went back through documents and determined that a
                          possible FDCPA claim existed. Did some preliminary research
                          and discussed possibility of getting credit reports with Client.
                          Believed it was unlikely at the time they were reporting due
David Chami   5.3.16      to age of the delinquency but thought it made sense to check       3.6 $   550.00 $   1,980.00

                          Received, reviewed and sent foreclosure notice from Korde
Nick Yousif   05/20/16    and Associates to Chami                                            0.3       450 $     135.00
                          Recevied Letter from Nick's office regarding Notice of intent
                          to foreclose on behalf of Selene; reviewed letter and
David Chami   5.20.16     prepared response                                                  4.1 $   550.00 $   2,255.00
                          Assisted Mr. Sullivan with obtaining credit reports from all
                          three credit reporting agencies. Reviewed the reports in
                          detail and identified issues with Selene reporting on the
                          Experian Report. Then reviewed an Innovis report
                          (mortgages) to see if Selene was reporting on that report.
                          Prepared gameplan for disputes to Experian re: Selene
David Chami   5.25.16     Account                                                            5.1 $   550.00 $   2,805.00
                          Received Experian dispute response re: Selene tradeline
                          reporting balance and late payments. Reviewed response
David Chami   6.20.16     and analyzed claims under 1681s-2b                                   3 $   550.00 $   1,650.00
David Chami   6.24.16     Began reviewing first circuit authority for s-2b claim.            4.1 $   550.00 $   2,255.00
                          Continued reviewing authority. Reviewed Chiang and
                          DeAndrade decisions in detail. Reviewed Plaintiff's claim in
                          light of those cases and determined it was appropriate to
David Chami   6.27.16     continue review and pursuit of an FCRA claim                       4.6 $   550.00 $   2,530.00

                          Client looking for update. Texted Chami to see where we're
Nick Yousif   6.28.16     at                                                                 0.3 $   450.00 $    135.00
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                             Compared and contrasted out of circuit authority. Reviewed
                             case specific facts and determined it was a claim we could
David Chami       6.28.16    pursue                                                          4.9 $   550.00 $   2,695.00
                             Prepared retainer between Mr. Sullivan and Nick's office




                                                                                                                           Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 5 of 22
                             with PLG/Chami. Reviewed with Nick and forwarded to Mr.
David Chami       7.7.16     Sullivan                                                        0.8 $   550.00 $    440.00
                             Took call from client re: moving forward with his case.
                             Explained attorney review and setup a call with Mr. Chami
Florence Lirato   7.14.16    about next steps                                                0.5 $   150.00 $     75.00

                             Created File for Mr. Sullivan. Saved relevant documents and
                             created accounting profile for new client. Documents were
Florence Lirato   7.15.16    extensive. Sent Retainer to Mr. Chami to review and edit.       1.7 $   150.00 $    255.00
                             Discussion with Nick Y regarding the case. Explained that we
                             would be preparing the draft complaint for his review and
David Chami       7.18.16    comments.                                                       0.8 $   550.00 $    440.00
Florence Lirato   7.19.16    Received signed retainer and filed                              0.2 $   150.00 $     30.00
                             Began putting together draft complaint. Went through
                             letters between Sullivan and prior loan servicers to track
                             payments, alleged shortages, tax deferrals from the county
                             to put together a detailed complaint. Fact patters is highly
David Chami       7.26.16    complex requiring attention to detail.                          7.4 $   550.00 $   4,070.00
                             Continued working on complaint until I got into a format that
David Chami       7.27.16    appeared to be filable.                                         6.9 $   550.00 $   3,795.00

                             Spoke to client who was looking for an update. Notified him
                             that Price Law Group should be filing suit. Reviewed case
Nick Yousif       8.4.16     with David Chami and client                                      1 $    450.00 $    450.00
                             Email with Mr. Sullivan. Many questions regarding
                             communications with loan servicers to better understand his
                             claims against Selene who was reporting the balance as
David Chami       8.9.16     owing and currently late. Setup call for 8.10.16                0.8 $   550.00 $    440.00
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                             Call with Mr. Sullivan to discuss facts/allegations as well as
David Chami       8.10.16    his damages.                                                      0.8 $     550.00 $      440.00
                             Received email from Client including a copy of his Chapter 13
                             and subsequent Chap 7 BK Petitions. Reviewed them in




                                                                                                                                 Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 6 of 22
David Chami       8.11.16    detail. Reached out to both BK lawyers to discuss facts.          4.5 $     550.00 $     2,475.00
                             Began thorough review of all monthly mortgage statements,
                             bank statements, accompanying letters, loan modification,
                             BK docs and collection letters to verify allegations in the
                             complaint and confirm that Selene account information was
David Chami       8.11-12.16 inaccurate.                                                       7.8   $   550.00   $   4,290.00
David Chami       8.12.16    Continued preparation of complaint                                3.1   $   550.00   $   1,705.00
David Chami       8.15.16    Draft Complaint prepared                                          4.5   $   550.00   $   2,475.00
David Chami       8.15.16    Reviewed Draft complaint with Mr. Sullivan                        1.6   $   550.00   $     880.00
David Chami       8.17.16    Complaint Reviewed and prepared for filing                        3.9   $   550.00   $   2,145.00
Florence Lirato   8.23.16    Prepared Civil case initiating Documents for all Def.             1.2   $   150.00   $     180.00
Florence Lirato   8.23.16    Filed Complaint and saved docs                                    0.4   $   150.00   $      60.00
Florence Lirato   8.30.16    Sent Selene initiating Docs                                       0.2   $   150.00   $      30.00

                              Carol from Selene Finance called – trying to determine status
                              of case and looking for us to call back. Wanted us to submit a
Nick Yousif       9.29.16     loan modification package because client is behind               0.3 $     450.00 $      135.00

                              Email exchange with Attorney Paul Michienzie for Selene.
                              Him and Chami will set up call. They want more time to file
Nick Yousif       10/31/16    an answer                                                        0.2          450 $       90.00
                              Received email from Paul Michienzie for Selene. Discussed
                              complaint, requested a stipulation to extend the deadline to
David Chami       10.31.16    file a responsive pleading                                       0.8 $     550.00 $      440.00
                              Spoke to Paul about settlement options including loan
                              modification to allow Mr. Sullivan to remain in the home.
                              Selene was unresponsive but requested a second extension
David Chami       11.14.16    to file an answer. Granted.                                      0.7 $     550.00 $      385.00
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                              Atty Michienzie's office sent request to extend time to file
                              answer. Confirmed that is alright. Numerous other email




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Nick Yousif       11/16/21    exchanges                                                       0.4        450 $    180.00
David Chami       11.17.16    Received draft motion to extend from Selene's counsel.          0.3 $   550.00 $    165.00

                              Received and reviewed Selene's answer to Complaint.
                              Discussed improper affirmative Defenses and failures to
David Chami       12.5.16     affirmatively respond to straightforward factual allegations.   4.1 $   550.00 $   2,255.00
                              Prepared motion for admission pro hac vice. Consulted with
David Chami       1.3.17      Defendants. No objections                                       1.2 $   550.00 $    660.00


Nick Yousif       1.3.17     Review of Atty Chami's pro hac application. Needs to be filed    0.2        450 $     90.00
David Chami       1.4.17     Call with Selene's counsel about settlement                      0.8 $   550.00 $    440.00
Florence Lirato   1.4.17     Filed motion for admission pro hac vice                          0.2 $   150.00 $     30.00
                             Reached out to counsel about setting Rule 26(f) conf. no
David Chami           Jan-17 response                                                         0.1 $   550.00 $     55.00
                             Reached out to counsel about setting Rule 26(f) conf. was
David Chami           Feb-17 told that no Rule 16 set so no hurry to hold 26(f)               0.1 $   550.00 $     55.00
                             Reached out to Court to figure out when the Rule 16
Florence Lirato       Feb-17 conference would be set - no date provided                       0.1 $   150.00 $     15.00

Nick Yousif       3.16.17     Emailed Chami for update. He got back to me. Updated client     0.3 $   450.00 $    135.00
David Chami            Apr-17 Reached out to counsel about setting Rule 26(f) conf.           0.1 $   550.00 $     55.00
                              Multiple conversations with Defendants about need to set
                              26(f) meeting a start discovery despite no Rule 16
                              conference being set. Demanded we hold a 26(f) meet and
David Chami           May-17 confer                                                           0.4 $   550.00 $    220.00
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                              Court has not scheduled rule 16 conference yet. Tried to call




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                              court to see what's happening. Chami said his office has been
Nick Yousif       06/05/17    calling as well                                                 0.4       450 $     180.00
                              Prepared Rule 26(f) report to be circulated amongst
David Chami       6.16.17     Defendants                                                      1.3 $   550.00 $    715.00
                              Reviewed report and Attended Rule 26(f) meeting - reviewed
David Chami       6.20.17     edits by Defendants                                             1.2 $   550.00 $    660.00
                              Received and reviewed notice of appearance of Selene's
                              counsel Richard Demerle. Performed initial research on
                              counsel including speaking to Nick Yousif who had past
David Chami       6.21.17     experiences with Mr. Demerle.                                   1.2 $   550.00 $    660.00


Nick Yousif       06/27/21    Review of Rule 16 joint statement                               0.4       450 $     180.00
                              Communication with Richard Demerle - new counsel for
                              Selene. Selene attempted to delay holding of a 26(f)
                              conference based on the lack of a scheduled Rule 16
David Chami       6.28.17     conference                                                       1 $    550.00 $    550.00
                              Began preparing written discovery to Selene. RFAs and RFPs
David Chami       6.28.17     completed                                                       5.6 $   550.00 $   3,080.00

David Chami       6.29.17     Prepared ROGs to serve on Selene. Finalized RFAs and RFPs.      4.3 $   550.00 $   2,365.00
Florence Lirato   6.29.17     Printed and mailed discovery to Selene                          0.3 $   150.00 $      45.00
Florence Lirato   7.3.17      Emailed written discovery to Selene                             0.2 $   150.00 $      30.00


Nick Yousif       07/11/17    Follow up email correspondence to file Rule 16 report           0.2       450 $      90.00


Nick Yousif       07/21/17    Updates to Joint statement. Reviewed                            0.2       450 $      90.00
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                              Reviewed scheduling order and discussed document review
David Chami       7.21.17     and deposition schedule                                        1.2 $   550.00 $    660.00
Florence Lirato   7.24.17     Filed Joint Statement regarding schedling conference           0.2 $   150.00 $     30.00
                              Received email from Selene's counsel requesting Extension




                                                                                                                           Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 9 of 22
                              of discovery to August 18. Reviewed email and considering
                              time invested to date agreed to an extension to August 9th
David Chami       7.25.17     2017.                                                          0.5 $   550.00 $    275.00

                              Received email from Selene's attorney requesting an
                              extention to August 14 to submit discovery. Reviewed
David Chami       8.7.17      response and granted the request as a professional courtesy.   0.3 $   550.00 $    165.00
                              Received multiple emails from Selene's counsel requesting
                              an additional 24 hours to respond to discovery. Reviewed the
David Chami       8.13.17     emails, responded granting another ext.                        0.3 $   550.00 $    165.00




                              Selene got us discovery. Review of Selene's answer to
Nick Yousif       08/15/17    interrogatories and request for admissions                     1.8        450 $    810.00
David Chami       8.15.17     Received discovery responses - performed cursory review        1.6 $   550.00 $    880.00
                              Reviewed discovery responses. Major deficiencies began
                              outlining a meet and confer related to numerous deficient
David Chami       8.16.17     responses                                                      4.9 $   550.00 $   2,695.00
David Chami       8.18.17     Received and reviewed Selene's 26.1 disclosure                 1.1 $   550.00 $     605.00
David Chami       8.25.17     Prepared Rule 26.1 IDS to send to Defendants                   1.2 $   550.00 $     660.00
                              Continued meet and confer letter regarding Selene's
                              deficient discovery responses and requested supplemental
David Chami       9.7.17      responses                                                       3 $    550.00 $   1,650.00
                              Received an email threatening a motion for summary
David Chami       9.15.17     judgment. No response to meet and confer letter                0.5 $   550.00 $    275.00
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                               Call from Demerle where he tried to explain why our claims
                               would all fail - appeared to not understand the FCRA or
David Chami       9.20.17      FDCPA. He explained his primary practice was in Bankruptcy     0.8 $   550.00 $    440.00




                                                                                                                            Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 10 of 22
                               Sent Demerle email summarizing the call on the 20th as well
                               as case law establishing that any motion he would file would
                               be futile since he is not following the law on the claims
David Chami       9.21.17      asserted.                                                      1.5 $   550.00 $    825.00
                               Received email from Demerle which appeared to be a
                               preview of his impending motion for summary judgment.
David Chami       9.21.17      Examined his alleged authority                                 2.3 $   550.00 $   1,265.00
                               Received an email from the court regarding scheduling
                               conference with the Court. Reviewed calendar and
David Chami       10.04.17     responded to Courtroom deputy                                  0.4 $   550.00 $    220.00

                               Client dropped off docs dated Oct 2 for David. Scanned in
                               server and email to Chami. In depth client meeting reviewing
Nick Yousif       10.13.17     docs with client. Reviewed with Chami                          3.1 $   450.00 $   1,395.00
                               Performed research for discovery motion. Prepared motion
                               to compel discovery following unsuccessful meet and confer
David Chami       10.15.17     with Selene                                                    7.1 $   550.00 $   3,905.00
                               Continued drafting motion to compel and got it into a final
David Chami       10.16.17     form.                                                          5.2 $   550.00 $   2,860.00
                               Prepared exhibits and documents to file motion to compel
Florence Lirato   10.17.17     and served on Def. Selene by mail and email                    1.1 $   150.00 $    165.00


                               Client received statement from Selene stating he has 49k of
Nick Yousif       10.24.17     arrears. Reviewed with client and sent statement to Chami      0.4 $   450.00 $    180.00
                               Communicated through multiple emails with Demerle to
                               meet and confer on motion to compel. Scheduled a call for
David Chami       10.24.17     10/25                                                          0.4 $   550.00 $    220.00
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                            Call with Demerle. He explained that he would not
                            supplement any discovery until the Court ruled on his client's
                            motion for summary judgment that had not even been filed.
                            He sent a confirming email to that effect on 10.30.17 which




                                                                                                                            Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 11 of 22
David Chami   10.25.17      is included in this time                                          1.1 $   550.00 $    605.00
                            Received Selenes MSJ. Reviewed in detail including
David Chami   11.2-3.17     preliminary review of the authorities cited                       5.7 $   550.00 $   3,135.00
                            Continued review of purported case law that supported
                            Selene's position. Read cases and Shepordized cases to seek
David Chami   11.3.17       out positive and negative citations                               4.1 $   550.00 $   2,255.00

David Chami   11.2.17       Prepared status report per court order to be filed by 11.3.17     0.3 $   550.00 $    165.00
                            Prepared for call with Court re: motion to compel. Call held
David Chami   11.3.17       on 11.3 with Judge Kelley. Motion granted                         4.2 $   550.00 $   2,310.00

                            Began draft of opposition to motion for summary judgment.
                            Reviewing disputed facts and preparing factual background
David Chami   11.5.17       for opposition. Call with the client and Nick Yousif              6.5 $   550.00 $   3,575.00
                            Reviewed MSJ and Participated in call with client and Chami
Nick Yousif   11.5.17       re: MSJ                                                           3.2 $   450.00 $   1,440.00
                            Came in on Saturday to work on legal research on
                            FCRA/FDCPA claims. Counsel relied on BK court cases.
                            Needed to review and distinguish for brief. Began a rough
David Chami   11.7.17       draft of the opposition                                          10.2 $   550.00 $   5,610.00
                            Reviewed amended JOINT statement re: scheduling
David Chami   11.9.17       conference                                                        0.3 $   550.00 $    165.00
                            Reviewed amended JOINT statement re: scheduling
Nick Yousif   11.9.17       conference                                                        0.2 $   450.00 $     90.00
                            Reviewed protective order for entry in the case. Suggested
David Chami   11.17.17      edits                                                             1.8 $   550.00 $    990.00
                            Multiple emails with Demerle regarding another extension
David Chami   11.17.17      for discovery after the court ordered production                  0.4 $   550.00 $    220.00
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                               Received and reviewed Court order granting another ext for
David Chami       11.20.17     Selene to respond to discovery                                 0.2 $     550.00 $      110.00
Florence Lirato   11.20.17     Sent order to Chami and Yousif and saved in file               0.1 $     150.00 $       15.00
                               Reviewed edited PO suggested further changes which were




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David Chami       11.30.17     assented to and PO was filed with the court.                     1   $   550.00   $     550.00
Florence Lirato   12.04.17     Downloaded and reviewed/saved Order re: PO                     0.3   $   150.00   $      45.00
David Chami       1.11.18      Draft notice of 30(b)(6) depo including topics                 1.5   $   600.00   $     900.00
David Chami       1.15.18      emails with Demerle requesting dates for Depo                  0.3   $   600.00   $     180.00
David Chami       1.15.18      Re-worked intro and factual statements on MSJ                  2.3   $   600.00   $   1,380.00
                               emails with Demerle advising he was looking into dates and
                               provides possible settlement options that offer no payment
David Chami       1.18.18      to Plaintiff                                                   0.4 $     600.00 $      240.00
                               email regarind MSJ and need to take deposition to complete
David Chami       1.24.18      MSJ                                                            0.3 $     600.00 $      180.00
Florence Lirato   2.2.18       Stipulation to extend discovery                                0.3 $     175.00 $       52.50

                               Discussed stipulation with Selene re: ext of time to respond
                               to MSJ. Prepared Stip and filed with the Court on 2.7.18 -
David Chami       2.5.18       summary judgment response date moved to 3.15.18                 1 $      600.00 $      600.00


Nick Yousif       2.6.18       Reviewed 1099 and how it works with client                     0.2 $     500.00 $      100.00
Florence Lirato   2.8.18       Received and filed granting of ext re: discovery               0.2 $     175.00 $       35.00
                               Began a review of Selene production of documents including
David Chami       2.14.18      ROG responses to prepare for Deposition                        6.7 $     600.00 $     4,020.00
                               Continued reviewing document production by Selene.
                               Looked for support for additional claims and considered BK
                               disclaimers (boilerplate) on collection letters. Performed
                               some legal research on that issue as it was related to
David Chami       2.15.18      summary judgment                                               5.9 $     600.00 $     3,540.00
                               Prepared annotated exhibts and outline for Selene's
David Chami       2.16.18      corporate rep depo                                             9.1 $     600.00 $     5,460.00
David Chami       2.25.18      Final Depo prep. Depo Set for 2.28.18                          2.8 $     600.00 $     1,680.00
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                              Flight to Boston to take depo of Jessica Edwards. Reviewed
                              depo exhibits and outline - reworked outline to better setup
                              possible need to read in. Organized to make sure read in
David Chami       2.27.18     would flow well for jury                                        8.3 $   600.00 $   4,980.00




                                                                                                                            Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 13 of 22
                              Reviewed outline and traveled to depo location in Boston.
                              Continued review, appeared at location and conducted depo
David Chami       2.28.18     of Selene's rep Jessica Edwards - actual time 3 hours of depo   5.2 $   600.00 $   3,120.00
                              Sent email to Demerle re: Settlement after taking depo.
                              Selene's witness made numerous admissions that Demerle
David Chami       3.2.18      ignored and rejected our offer to settle.                       0.5 $   600.00 $    300.00
                              Continued working on opposition to MSJ. Modified
David Chami       3.6.18      statement of facts and added additional case law                6.7 $   600.00 $   4,020.00
                              Finalized Motion for Summary Judgment and prepared for
David Chami       3.13.18     final review/filing                                             4.8 $   600.00 $   2,880.00
                              Filed MSJ Opposition, organized exhibits and sent to Selene
Florence Lirato   3.14.18     by US mail and email.                                           0.8 $   175.00 $    140.00
                              Prepared amended notice of deposition for Selene with
David Chami       4.3.18      topics                                                          1.4 $   600.00 $    840.00
Florence Lirato   4.4.18      Sent 2nd Amended notice of depo to Selene                       0.3 $   175.00 $     52.50
Florence Lirato   4.6.18      Sent notice of depo for Cathy Oliver for May 4, 2018            0.3 $   175.00 $     52.50
                              Reviewed discovery requests received from Selene. RFA
David Chami       4.13.18     responses prepared                                              4.7 $   600.00 $   2,820.00
                              Reviewed and prepared discovery responses to Selene's RFPs
                              including objections. Spoke to Mr. Sullivan and reviewed his
                              doc production in 2016 to identify proper redactions for
David Chami       4.13.18     confidential or privileged information                          6.8 $   600.00 $   4,080.00
David Chami       4.17.18     Finalized RFP responses                                         1.7 $   600.00 $   1,020.00
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                               Reviewed Mr. Sullivan's attempts to answer Selene's ROG
                               responses. Reviewed them and provided guidance to Mr.
                               Sullivan to better understand the ROGs. Placed objections
                               and formatted basic responses pending further input from




                                                                                                                             Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 14 of 22
David Chami       4.18.18      Plaintiffi                                                      5.7 $   600.00 $   3,420.00
                               Reviewed final discovery responses including ROGs and
David Chami       4.25.18      obtained verification page from Sullivan.                       2.1 $   600.00 $   1,260.00
                               Prepared and sent discovery responses to Selene - mail and
Florence Lirato   4.27.18      email                                                           0.4 $   175.00 $     70.00
                               Prepared for and particpated in a discovery call with the
                               Court related to Selene's refusal to agree to a deposition of
David Chami       4.30.18      Cathy Oliver. Court granted our discovery motion                3.2 $   600.00 $   1,920.00
                               Parties agreed to extend discovery to allow Plaintiff to
                               complete Oliver depo at a later date. Ext. filed with the
David Chami       5.15.18      court.                                                          0.8 $   600.00 $    480.00
                               Received, reviewed and filed order granting discovery ext.
Florence Lirato   5.31.18      Modified system to reflect new dates                            0.4 $   175.00 $     70.00
                               Reviewed court's order setting oral argument on MSJ for
David Chami       6.25.18      7.12.18                                                         0.2 $   600.00 $    120.00
                               Prepared for oral argument on MSJ. Reviewed briefs and
David Chami       7.11.18      prepared outline of arguments.                                  6.2 $   600.00 $   3,720.00
                               Reviewed outline and conducted oral argument on MSJ.
                               Court requested additional briefing on FDCPA bankruptcy
David Chami       7.12.18      disclaimer                                                      2.8 $   600.00 $   1,680.00
David Chami       7.26.18      Reviewed order assigning to mediation                           0.2 $   600.00 $     120.00
                               Discussed with Nick Yousif to schedule attendance at
David Chami       7.26.18      mediation and review with client                                0.3 $   600.00 $    180.00
Nick Yousif       7.26.18      Discussed mediation with Chami and client                       0.3 $   500.00 $    150.00
                               Prepared for depo of Cathy Oliver. Reviewed transcript of
                               Jessica Edwards, reviewed doc production and created
David Chami       8.5-6.18     outline for depo.                                               7.8 $   600.00 $   4,680.00
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                              Travel to take the depo of Cathy Oliver. Reviewed outline
                              during flight and while waiting at the airport. Cross
David Chami       8.7.18      referenced depo of Edwards for possible impeachment               4.6 $     600.00 $     2,760.00
David Chami       8.8.18      Reviewed exhibits and took depo of Cathy Oliver                   3.3 $     600.00 $     1,980.00




                                                                                                                                  Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 15 of 22
David Chami       8.22.18     Received and reviewed depo transcript of Cathy Oliver             2.3 $     600.00 $     1,380.00
                              Received discovery requests from Selene seeking settlement
                              documents from Plaintiff. Performed extensive research on
                              the propriety of the request in the country and specifically in
David Chami       8.24.18     the 1st circuit.                                                  4.8 $     600.00 $     2,880.00
David Chami       9.5.18      Prepared mediation statement for 9.17.18 mediation                3.6 $     600.00 $     2,160.00
Florence Lirato   9.12.18     Communications with the Court regarding mediation                 0.3 $     175.00 $        52.50
                              Prepared client for depo set for 9.18.18 (Defendant
David Chami       9.12.18     eventually cancelled the depo)                                    2.5 $     600.00 $     1,500.00
                              Demerle emails requested settlement agreements with
                              other defendants - email responses and phone calls in or on
David Chami       9.14.18     9.14-15.18                                                        0.9 $     600.00 $      540.00
                              Travel to Boston, met with client and Nick Yousif to go over
David Chami       9.15.18     the case, facts and settlement positions.                         5.8   $   600.00   $   3,480.00
Nick Yousif       9.15.18     Met with Chami and client to discuss case/settlement              2.6   $   450.00   $   1,170.00
David Chami       9.17.18     Participated in mediation with Magistrate judge                   1.5   $   600.00   $     900.00
Nick Yousif       9.17.18     Participated in mediation with Magistrate Judge                   1.5   $   450.00   $     675.00
Florence Lirato   9.20.18     Requested hearing transcript from the court reporter              0.3   $   175.00   $      52.50

                              Review of document client received in the mail from Selene
Nick Yousif       9.24.18     with client. Sent copy to Chami                                   0.8 $     500.00 $      400.00
                              Prepared and emailed/mailed Plaintiff's third supplemental
Florence Lirato   9.24.18     disclosure                                                         1 $      175.00 $      175.00
                              Reviewed order allowing renewed motion for summary
David Chami       9.27.18     judgment filed by Selene                                          0.2 $     600.00 $      120.00
                              Received Defendants request for a discovery conference
David Chami       9.27.18     regarding settlement agreements with other defendants             0.3 $     600.00 $      180.00
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                               Review of more docs client received from Selene. Client said
Nick Yousif       10.2.18      he will mail Chami a copy                                        0.6 $     500.00 $      300.00
                               Prepared and emailed/mailed Plaintiff's Fourth Supplemental




                                                                                                                                  Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 16 of 22
Florence Lirato   10.4.18      disclosure                                                       0.4 $     175.00 $       70.00
                               Reviewed renewed msj - reviewed for modifications made.
                               Read in detail including exhibits and declarations - refreshed
David Chami       10.05.18     recollection on general authority relied upon                    4.8 $     600.00 $     2,880.00
                               Reviewed previously filed opposition made modifications,
                               including additional testimony from depositions of Selenes
                               staff and submitted to staff for filing and supplemental
David Chami       10.15.18     briefing                                                         8.4 $     600.00 $     5,040.00
Florence Lirato   10.19.18     Prepared filing of opposition to msj                             0.4 $     175.00 $        70.00
Florence Lirato   10.29.18     Received notice of hearing and set for attorney to appear        0.2 $     175.00 $        35.00
                               Discovery conference held. Reviewed case law and prepared
                               for argument on the discovery issue. Selene's motion was
David Chami       11.6.18      denied                                                           2.8 $     600.00 $     1,680.00
Florence Lirato   12.31.18     Received motion to compel filed by Selene.                       0.2 $     175.00 $        35.00
                               Reviewed motion to compel filed by Selene. Performed
                               preliminary review and outlined opposition. Began case law
David Chami       1.4.19       review and looking for competing authority                       4.5 $     675.00 $     3,037.50
David Chami       1.10.19      Briefed opposition to motion to compel                           6.3 $     675.00 $     4,252.50
                               Received and reviewed the court's order denying Selene's
David Chami       4.8.19       motoin to compel                                                   1 $     675.00 $      675.00
David Chami       4.24.19      Spoke to Mr. Sullivan about the case and provided update.        0.4 $     675.00 $      270.00
                               Received Court's report and recommendation on MSJ.
                               Reviewed order and citations in preparation for objection by
David Chami       7.2.19       Defendant                                                        2.4 $     675.00 $     1,620.00
                               Received objection to report and recommendation filed by
David Chami       7.16.19      Selene. Read once for content.                                   2.9   $   675.00   $   1,957.50
David Chami       7.19.19      Prepared reply to Defendants objection to R&R.                   4.9   $   675.00   $   3,307.50
David Chami       7.22.19      Continued and finalized reply to Defendants objection            5.1   $   675.00   $   3,442.50
Florence Lirato   7.25.19      prepared reply to Defendants objection to R&R and filed          0.8   $   175.00   $     140.00
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                              Call with client and Nick Yousif to discuss case status. Client
                              was very concerened with the length of time since filing and
David Chami       8.1.19      requested that we try to expedite case                             1.2 $   675.00 $    810.00
Nick Yousif       8.1.19      Call with Client and David Chami to discuss case status            1.2 $   500.00 $    600.00




                                                                                                                               Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 17 of 22
Nick Yousif       8.15.19     Sent Chami escrow notice                                           0.2 $   500.00 $    100.00
                              Reviewed motion to amend order to grant permission to
                              appeal. Performed legal research as to the propriety of an
David Chami       9.24.19     appeal on an MSJ                                                   2.6 $   675.00 $   1,755.00


                              Call with client. He has heart problems. Client sent us
    Nick Yousif   1.2.20      medicals. Reviewed medicals and sent to Chami                      1.2       500 $     600.00
                              Received letter from client advising of serious health issues
                              and concerns. Contacted client who seemed to be in good
                              spirits but concerned about health issues. Wanted update
                              about the case but advised we were waiting on the court to
David Chami       1.26.20     rule on the Objection by Defendants                                1.3 $   675.00 $    877.50
Nick Yousif       1.26.20     Spoke to Chami about letter received from Mr. Sullivan             0.5 $   500.00 $    250.00
                              Discussed case/health issues with Nick Y. Researched
David Chami       1.26.20     possible issues if Mr. Sullivan became incapacitated               2.3 $   675.00 $   1,552.50
                              Took call from Plaintiff's son advising that Mr. Sullivan was in
                              a coma and had serious concerns about his health. It was
David Chami       2.26.20     unexpected and unknown if he would make it                          1 $    675.00 $    675.00
                              Legal research on estate's ability to proceed with the case.
                              Mr. Sullivan advised his son that he wanted him to fight to
David Chami       2.27.20     keep the home if he did not make it                                3.5 $   675.00 $   2,362.50

                              Received communication that Mr. Sullivan did recover from
David Chami       4.21.20     health issues. His health was still poor but improving              1 $    675.00 $    675.00
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                           Calls to clerk. Spoke to Mariliz. Waiting for judge to issue
                           order on dockets 126 and 130. Judge is aware and will
Nick Yousif   10.14.20     remind judge                                                    0.3 $     500.00 $      150.00




                                                                                                                             Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 18 of 22
                           Notice to the court that Selene had not responded to
David Chami   10.16.20     requests to confer as ordered by the Court                        1   $   675.00   $    675.00
David Chami   10.16.20     Reviewed District Court's order adopting the R&R                1.1   $   675.00   $    742.50
David Chami   10.29.20     Prepared letter/request for telephonic conference               0.3   $   675.00   $    202.50
David Chami   11.5.20      Reviewed status report filed by Selene                          0.2   $   675.00   $    135.00
David Chami   11.10.20     Joint report to the court                                       0.2   $   675.00   $    135.00
David Chami   11.16.20     Reviewed Court's order denying Selene's motion to amend         0.3   $   675.00   $    202.50
                           Received and reviewed Selene's notice of appeal and motion
David Chami   11.18.20     for certificate of appealability Doc 145                        4.5 $     675.00 $     3,037.50
                           Research on the appeal which appeared on its face to be
David Chami   11.19.20     improper. Began more in depth research on the motion            5.1   $   675.00   $   3,442.50
David Chami   11.30.20     Drafted opposition to interlocutory appeal                      2.9   $   675.00   $   1,957.50
David Chami   1.04.21      Received and reviewed order on appealability at Doc 150         2.2   $   675.00   $   1,485.00
Nick Yousif   1.11.21      Status conference - setting jury trial                          0.3   $   500.00   $     150.00
David Chami   1.11.21      Status conference - setting jury trial                          0.3   $   675.00   $     202.50
                           Communication with John Precobb re: depo of Plaintiff.
                           Agreement that depo would be conducted remotely by zoom
                           with Mr. Sullivan present with Mr. Yousif and Mr. Chami
David Chami   1.19.21      appearing to Defend by video                                    0.6 $     675.00 $       405.00
David Chami   1.24.21      Depo Prep call with Mr. Yousif and Mr. Sullivan                 1.5 $     675.00 $     1,012.50
Nick Yousif   1.24.21      Depo Prep call with Mr. Chami and Mr. Sullivan                  1.5 $     500.00 $       750.00
                           Reviewed exhibits provided by Selene for Depo of Robert
Nick Yousif   1.28.21      Sullivan in office                                              1.8 $     500.00 $      900.00
                           Reviewed exhibits provided by Selene for Depo of Robert
                           Sullivan remotely by zoom as Chami was defending the
David Chami   1.28.21      deposition                                                      1.9 $     675.00 $     1,282.50
                           Defended Depo of Robert Sullivan who was in the Law Office
                           of Nick Yousif - includes pre depo discussion with Yousif and
David Chami   1.29.21      client                                                          3.2 $     675.00 $     2,160.00
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                          Made office available for Depo of Sullivan. Discussed depo
                          with client during breaks and participated in calls with client
Nick Yousif   1.29.21     and Chami who was defending by zoom                               3.2 $     500.00 $     1,600.00
                          Spoke to Precobb re: continued depo regarding documents




                                                                                                                              Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 19 of 22
                          that were disclosed but not in Mr. Precobb's possession.
David Chami   1.29.21     Agreed to a limited depo as to the credit reports                 0.4   $   675.00   $     270.00
David Chami   2.1.21      Emails with Precobb re: scheduling continued depo                 0.4   $   675.00   $     270.00
David Chami   2.17.21     Emails with Precobb re: additional topic for depo                 0.2   $   675.00   $     135.00
David Chami   2.18.21     Emails with Precobb re: additional topic for depo                 0.3   $   675.00   $     202.50
David Chami   2.18.21     Prep Call with Client re: Continued Depo                          1.2   $   675.00   $     810.00
Nick Yousif   2.18.21     Prep Call with Client re: Continued Depo                          1.2   $   500.00   $     600.00
David Chami   2.19.21     Continued depo of Sullivan                                        1.8   $   675.00   $   1,215.00
Nick Yousif   2.19.21     Continued depo of Sullivan at Yousif office                       1.8   $   500.00   $     900.00

                          Email from client with attachments of credit denials.
Nick Yousif   2.22.21     Reviewed with Atty McKenna                                        0.4 $     500.00 $      200.00
                          Multiple emails regarding settlement. No offer actually made
David Chami   3.1.21      to Plaintiff in response to our demands                           0.4 $     675.00 $      270.00
                          Received referral to ADR… reviewed and prepared brief
                          addressing merits and settlement position following
David Chami   4.6.21      completion of discovery and motion practice                       3.1 $     675.00 $     2,092.50
                          Spoke to client about home value, possible settlement and
                          efforts to get on the same page about acceptable settlement
David Chami   5.27.21     options                                                            1 $      675.00 $      675.00
                          Participated in call with Client and Chami about upcoming
Nick Yousif   5.27.21     settlement conference                                              1 $      500.00 $      500.00
                          Began trial prep work. Reviewed depos of Selene reps for
                          read designations. Reviewed exhibits for identification in
David Chami   5.29.21     26(a)(3)                                                          5.8 $     675.00 $     3,915.00
                          Continued trial prep. Went through collection letters (many
                          received in 2021 during representation). Identified new BK
David Chami   5.30.21     acknowledgments and new violations by Selene                      6.1 $     675.00 $     4,117.50
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                           Prepared 26(a)(3) disclosure included depo read ins, exhibits
David Chami   6.1.21       and witness lists                                                  2.6 $     675.00 $     1,755.00
                           Reviewed Selene's 26(a)(3) disclosure. Reviewed the
David Chami   6.8.21       disclosed exhibits for content and Prepared objections             4.2 $     675.00 $     2,835.00




                                                                                                                                Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 20 of 22
                           Prepared for and appeared at settlement conference with
David Chami   6.14.21      Client and Yousif                                                  3.1 $     675.00 $     2,092.50
Nick Yousif   6.14.21      Appeared at settlement conference with Client and Chami            1.4 $     500.00 $       700.00


                           Emaiil to David Chami and Florence Lirato – received
Nick Yousif   7.8.21       paperwork from Selene offering a streamline modification           0.1 $     500.00 $       50.00
                           Began preparing direct examination of witnesses. Jacob
                           Sullivan, John Sullivan and Dax Grantham BK lawyer.
                           Scheduled calls with all to get better understanding of their
David Chami   8.3-5.21     knowledge of the facts.                                            5.4   $   675.00   $   3,645.00
David Chami   8.6.21       Prepared direct exam for John Sullivan (Brother)                   2.4   $   675.00   $   1,620.00
David Chami   8.9.21       Prepared direct exam for Jacob Sullivan (son)                      2.3   $   675.00   $   1,552.50
David Chami   8.10.21      Prepared direct exam for BK Lawyer                                 1.5   $   675.00   $   1,012.50
                           Prepared direct exam for Plaintiff - multiple phone and zoom
David Chami   8.17.21      calls to prepare                                                   4.8 $     675.00 $     3,240.00


                           Client received a loan modification denial letter? Client never
Nick Yousif   09/07/21     applied. Not sure why they didn't send our office the denial       0.3 $     500.00 $      150.00
                           Prepared bates labled exhibits for trial. Reviewed exhibits for
David Chami   9.18.21      use in examinations and cross examiniations                        6.8 $     675.00 $     4,590.00
                           Prepared Motions in Liminie - preclude reference to credit
David Chami   10.8.21      denials that predate dispute letters                               8.1 $     675.00 $     5,467.50
                           Worked on 2 MILs… preclude discussion of other settlements
                           and any statements that Plaintiff may be obligated on the
David Chami   10.9.21      loan which was discharged in BK                                   11.3 $     675.00 $     7,627.50
David Chami   10.10.21     Began initial draft of Jury instructions. 1st Circuit FCRA         3.8 $     675.00 $     2,565.00
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                               Worked on 2 MILS - one to preclude discussion that Plaintiff
                               had not paid a mortgage payment since Selene rejected his
                               payments in 2015, one to preclude Defendant from
David Chami       10.11.21     introducing loan history from other servicers                     10.8 $   675.00 $   7,290.00




                                                                                                                                Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 21 of 22
David Chami       10.13.21     Continued research on jury instructions - trial 11/29              2.3 $   675.00 $   1,552.50
David Chami       10.20.21     Worked on proposed void dire questions                               5 $   675.00 $   3,375.00
                               Began working on joint statement of the case and jury
David Chami       10.21.21     instructions                                                       5.9 $   675.00 $   3,982.50

                               Met and conferred re: MILs… seemed to agree on stip that
David Chami       10.21.22     Selene would not discuss denials pre dispute. Prepared stip        7.5 $   675.00 $   5,062.50

                               Prepared cross examination for Selene witnesses. Prepared
David Chami       10.28.21     impeachment exhibits in the event of false testimony              12.2 $   675.00 $   8,235.00
                               Completion of jury instructions - circulated to Nick Yousif for
David Chami       10.29.21     review and comments                                                6.6 $   675.00 $   4,455.00
Florence Lirato   10.29.21     Filed MILs                                                           1 $   175.00 $     175.00
                               Final review of jury instructions. Approved for submission to
David Chami       10.30.21     opposing counsel on Monday                                         1.5 $   675.00 $   1,012.50
Nick Yousif       10.30.21     Reviewed jury instructions - made minor edits                      1.5 $   500.00 $     750.00
                               Recevied and reviewed OOJ. Offer did not limit fees in any
                               way. Communiated offer to Plaintiff and discussed -
                               reached out to defendant's counsel about possibility of
David Chami       11.1.21      settling fees - NO RESPONSE                                        1.5 $   675.00 $   1,012.50
                               Received emergency motion from Def to continue deadlines -
David Chami       11.1.21      reviewed and consented to filing as a stip                         1.5 $   675.00 $   1,012.50

                               Spoke to client and he agreed to accept the OOJ receiving
David Chami       11.4.21      $30,000 + reasonable fees to his attorneys and taxable costs       1.2 $   675.00 $    810.00
David Chami       11.8.21      Joint motion to continue hearing and briefing schedule               1 $   675.00 $    675.00

David Chami       12.1.21      Reviewing work on the including that of staff and co-counsel.      4.7 $   675.00 $   3,172.50
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                           Began working on Motion for fees and review of Lodestar in
                           Boston/east coast. Reviewed Consumer Attorney fee survey
                           and discussed fees in Boston with a few local attorneys
David Chami   12.2.21      through the NACA listserve.                                       6.2 $             675.00 $      4,185.00




                                                                                                                                        Case 1:16-cv-11719-MPK Document 185-1 Filed 12/17/21 Page 22 of 22
                           Performed legal research on lodestar and hourly rates.
                           Reviewed relevant authority and incorporated into draft
David Chami   12.3.21      motion                                                            4.2 $             675.00 $      2,835.00
                           Prepared declaration in support of fees. Reached out to
                           other consumer lawyers to provide affidavits in support of
David Chami   12.4.21      fees. Further reviewed the consumer lawyer fee survey             5.7 $             675.00 $      3,847.50
                           Completed motion for fees. Began review of time/billing for
David Chami   12.9.21      lodestar and other recoverable taxable costs                      4.8 $             675.00 $      3,240.00

                           Reached out to Nick Yousif regarding his portion of the fee
                           application. Discussed declaration in support and cross
David Chami   12.10.21     referenced appropriate billing based on lead attorney status.     0.8 $             675.00 $       540.00


                           Total Hours Expended:                                           618.7 Total Amount Billed:   $ 365,195.00
